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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

KATJA PEREZ,

       Plaintiff,                                              Case No.: 1:24-cv-00034

v.

THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.

                                         COMPLAINT

       Plaintiff, KATJA PEREZ (“Perez” or “Plaintiff”), by Plaintiff’s undersigned counsel,

hereby complains of the Partnerships and Unincorporated Associations identified on Schedule A

attached hereto (collectively, “Defendants”), and for Plaintiff’s Complaint hereby alleges as

follows:

                                JURISDICTION AND VENUE

       1.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Federal Copyright Act, 17 U.S.C. § 101, et seq., 28 U.S.C. §

1338(a)–(b), and 28 U.S.C. § 1331.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets consumers in the United States, including Illinois, through at least the fully interactive

commercial internet stores operating under the Defendant aliases and/or the online marketplace

accounts identified in Schedule A attached hereto (collectively, the “Defendant Internet Stores”).

Specifically, Defendants are reaching out to do business with Illinois residents by operating one

or more commercial, interactive internet stores through which Illinois residents can purchase


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products bearing infringing versions of Plaintiff’s copyrighted works. Each of the Defendants has

targeted Illinois residents by operating online stores that offer shipping to the United States,

including Illinois, accept payment in U.S. dollars and, on information and belief, has sold products

bearing infringing versions of Plaintiff’s federally registered copyrighted works to residents of

Illinois. Each of the Defendants is committing tortious acts in Illinois, is engaging in interstate

commerce, and has wrongfully caused Plaintiff substantial injury in the State of Illinois.

                                         INTRODUCTION

        3.      Plaintiff, KATJA PEREZ, is the owner of the federal copyright registrations that

protect the creative content of Plaintiff’s images and illustrations. Perez is a breast cancer survivor,

mother, part-time web designer, and illustrator. She has a strong belief in the healing properties of

rituals and mediation, and hopes that her art can transport some of that magical energy into your

home.

        4.      This action has been filed by Plaintiff to combat online copyright infringers who

trade upon Plaintiff’s reputation, goodwill, and valuable copyrights by selling and/or offering for

sale products in connection with Plaintiff’s illustrations. In addition, the Defendants are selling

unauthorized products that are based on and derived from the copyrighted subject matter of

Plaintiff’s images and illustrations.

        5.      Plaintiff is the owner of United States Copyright Registration Nos. VA 2-259-109;

VA 2-356-008; VA 2-356-009; and VA 2-356-927 (the “Katja Perez Works”) and the registrations

are attached hereto as Exhibit 1. Upon information and belief, the copyrights have an effective

date that predates the Defendants’ acts of copyright infringement.




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       6.      In an effort to illegally profit from the creative content of the Katja Perez Works,

Defendants have created numerous Defendant Internet Stores and designed them to appear to be

selling authorized Katja Perez Products.

       7.      The Defendant Internet Stores share unique identifiers, such as design elements and

similarities of the unauthorized products offered for sale, establishing a logical relationship

between them and suggesting that Defendants’ illegal operations arise out of the same transaction,

occurrence, or series of transactions or occurrences. Defendants attempt to avoid liability by going

to great lengths to conceal both their identities and the full scope and interworking of their illegal

operation. Plaintiff is forced to file this action to combat Defendants’ piracy of the Katja Perez

Works. Plaintiff has been and continues to be irreparably damaged through loss of control over the

creative content of the valuable copyrights, reputation, goodwill, the quality and ability to license

as a result of Defendants’ actions and seeks injunctive and monetary relief.

       8.       The rise of online retailing, coupled with the ability of e-commerce sites to hide

their identities, has made it nearly impossible for policing actions to be undertaken by Plaintiff

since availing itself of takedown procedures to remove infringing products would be an ineffective

and endless game of whack-a-mole against the mass piracy that is occurring over the internet.

Sadly, a swarm of infringers have decided to trade upon Plaintiff’s reputation, goodwill, and

valuable copyrights by selling and/or offering for sale products in connection with Plaintiff’s

illustrations. The aggregated effect of the mass piracy that is taking place has overwhelmed

Plaintiff and Plaintiff's ability to police Plaintiff's rights against the hundreds of anonymous

defendants who are selling illegal infringing products at prices below an original.

       9.      To be able to offer the infringing products at a price substantially below the cost of

the original, while still being able to turn a profit after absorbing the cost of manufacturing,



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advertising, and shipping requires an economy of scale only achievable through a cooperative effort

throughout the supply chain. As Homeland Security’s recent report confirms, counterfeiters act in

concert through coordinated supply chains and distribution networks to unfairly compete with

legitimate brand owners while generating huge profits for the illegal pirating network:

       Historically, many counterfeits were distributed through swap meets and individual
       sellers located on street corners. Today, counterfeits are being trafficked through
       vast e-commerce supply chains in concert with marketing, sales, and distribution
       networks. The ability of e-commerce platforms to aggregate information and
       reduce transportation and search costs for consumers provides a big
       advantage over brick-and-mortar retailers. Because of this, sellers on digital
       platforms have consumer visibility well beyond the seller’s natural
       geographical sales area.
                                                ...
       Selling counterfeit and pirated goods through e-commerce is a highly profitable
       activity: production costs are low, millions of potential customers are available
       online, transactions are convenient, and listing on well-branded e-commerce
       platforms provides an air of legitimacy.
                                                ...
       The impact of counterfeit and pirated goods is broader than just unfair competition.
       Law enforcement officials have uncovered intricate links between the sale of
       counterfeit goods and transnational organized crime. A study by the Better
       Business Bureau notes that the financial operations supporting counterfeit
       goods typically require central coordination, making these activities attractive
       for organized crime, with groups such as the Mafia and the Japanese Yakuza
       heavily involved. Criminal organizations use coerced and child labor to
       manufacture and sell counterfeit goods. In some cases, the proceeds from
       counterfeit sales may be supporting terrorism and dictatorships throughout the
       world.

See Department of Homeland Security, Combating Trafficking in Counterfeit and Pirated Goods,
Jan. 24, 2020, (https://www.dhs.gov/publication/combating-trafficking-counterfeit-and-pirated-
goods), at 10, 19 (emphasis added) attached hereto as Exhibit 2.

       10.     The Defendant Internet Stores share unique identifiers, such as design elements and

similarities of the unauthorized products offered for sale, establishing a logical relationship between

them and suggesting that Defendants’ illegal operations arise out of the same transaction, occurrence,

or series of transactions or occurrences. Defendants use aliases to avoid liability by going to great

lengths to conceal both their identities as well as the full scope and interworking of their illegal


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network. Despite deterrents such as takedowns and other measures, the use of aliases enables

infringers to stymie authorities:

        The scale of counterfeit activity online is evidenced as well by the significant efforts
        e-commerce platforms themselves have had to undertake. A major e-commerce
        platform reports that its proactive efforts prevented over 1 million suspected bad
        actors from publishing a single product for sale through its platform and blocked
        over 3 billion suspected counterfeit listings from being published to their
        marketplace. Despite efforts such as these, private sector actions have not been
        sufficient to prevent the importation and sale of a wide variety and large volume of
        counterfeit and pirated goods to the American public.
                                                   ...
        A counterfeiter seeking to distribute fake products will typically set up one or more
        accounts on online third-party marketplaces. The ability to rapidly proliferate third-
        party online marketplaces greatly complicates enforcement efforts, especially for
        intellectual property rights holders. Rapid proliferation also allows counterfeiters
        to hop from one profile to the next even if the original site is taken down or blocked.
        On these sites, online counterfeiters can misrepresent products by posting pictures
        of authentic goods while simultaneously selling and shipping counterfeit versions.
                                                   ...
        Not only can counterfeiters set up their virtual storefronts quickly and easily, but
        they can also set up new virtual storefronts when their existing storefronts are shut
        down by either law enforcement or through voluntary initiatives set up by other
        stakeholders such as market platforms, advertisers, or payment processors. Id. at
        5, 11, 12.


        11.     E-Commerce giant Alibaba has also made public its efforts to control piracy and

counterfeiting on its platform. It formed a special task force that worked in conjunction with Chinese

authorities for a boots-on the ground effort in China to stamp out counterfeiters. In describing the

counterfeiting networks it uncovered, Alibaba expressed its frustration in dealing with “vendors,

affiliated dealers and factories” that rely upon fictitious identities that enable counterfeiting rings to

play whack-a-mole with authorities:




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See Xinhua, Fighting China’s Counterfeits in the Online Era, China Daily (Sept. 19, 2017),
available at www.chinadaily.com.cn/business/2017-09/19/content_32200290.htm (Exhibit 3).


       12.     Plaintiff has been and continues to be irreparably harmed through loss of control

over Plaintiff’s reputation, goodwill, ability to license and the quality of goods featuring the Katja

Perez Works. The rise of eCommerce as a method of supplying goods to the public exposes brand

holders and content creators that make significant investments in their products to significant harm

from counterfeiters:

       Counterfeiting is no longer confined to street-corners and flea markets. The
       problem has intensified to staggering levels, as shown by a recent Organisations for

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       Economic Cooperation and Development (OECD) report, which details a 154
       percent increase in counterfeits traded internationally — from $200 billion in 2005
       to $509 billion in 2016. Similar information collected by the U.S. Department of
       Homeland Security (DHS) between 2000 and 2018 shows that seizures of
       infringing goods at U.S. borders have increased 10-fold, from 3,244 seizures per
       year to 33,810.
                                                 …

       The rise in consumer use of third-party marketplaces significantly increases the
       risks and uncertainty for U.S. producers when creating new products. It is no longer
       enough for a small business to develop a product with significant local consumer
       demand and then use that revenue to grow the business regionally, nationally, and
       internationally with the brand protection efforts expanding in step. Instead, with the
       international scope of e-commerce platforms, once a small business exposes itself
       to the benefits of placing products online — which creates a geographic scope far
       greater than its more limited brand protection efforts can handle — it begins to face
       increased foreign infringement threat.
                                                ...

       Moreover, as costs to enter the online market have come down, such market entry
       is happening earlier and earlier in the product cycle, further enhancing risk. If a new
       product is a success, counterfeiters will attempt, often immediately, to outcompete
       the original seller with lower-cost counterfeit and pirated versions while avoiding
       the initial investment into research and design.
                                                 ...
       Counterfeiters have taken full advantage of the aura of authenticity and trust that
       online platforms provide. While e-commerce has supported the launch of thousands
       of legitimate businesses, their models have also enabled counterfeiters to easily
       establish attractive “store-fronts” to compete with legitimate businesses.

See Combating Trafficking in Counterfeit and Pirated Goods, Jan. 24, 2020, (Exhibit 2) at 4, 8,
11.

       13.    Not only are the creators and copyright owners harmed, the public is harmed as well:

       The rapid growth of e-commerce has revolutionized the way goods are bought and
       sold, allowing for counterfeit and pirated goods to flood our borders and penetrate
       our communities and homes. Illicit goods trafficked to American consumers by e-
       commerce platforms and online third-party marketplaces threaten public health and
       safety, as well as national security. This illicit activity impacts American innovation
       and erodes the competitiveness of U.S. manufacturers and workers. The President’s
       historic memorandum provides a much warranted and long overdue call to action
       in the U.S. Government’s fight against a massive form of illicit trade that is
       inflicting significant harm on American consumers and businesses. This illicit trade
       must be stopped in its tracks.



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Id. at 3, 4. (Underlining in original).

        14.     Plaintiff’s investigation shows that the telltale signs of an illegal piracy ring are

present in the instant action. For example, Schedule A shows the use of store names by the Defendant

Internet Stores that employ no normal business nomenclature and, instead, have the appearance of

being made up, or if a company that appears to be legitimate is used, online research shows that there

is no known address for the company. Thus, the Defendant Internet Stores are using fake online

storefronts designed to appear to be selling genuine Katja Perez Products, while selling inferior

imitations of Plaintiff’s Katja Perez Products. The Defendant Internet Stores also share unique

identifiers, such as design elements and similarities of the infringing products offered for sale,

establishing a logical relationship between them and suggesting that Defendants’ illegal operations

arise out of the same transaction, occurrence, or series of transactions or occurrences. Defendants

attempt to avoid liability by going to great lengths to conceal both their identities and the full scope

and interworking of their illegal piracy operation. Plaintiff is forced to file this action to combat

Defendants’ infringement of Plaintiff’s Katja Perez Works, as well as to protect unknowing

consumers from purchasing unauthorized Katja Perez Products over the internet.

        15.     This Court has personal jurisdiction over each Defendant, because each Defendant

conducts significant business in Illinois and in this judicial district. Furthermore, the acts and

events giving rise to this lawsuit were undertaken in Illinois and in this judicial district. In addition,

each defendant has offered to sell and ship infringing products into this judicial district.

                                          THE PLAINTIFF

        16.     Plaintiff, KATJA PEREZ, is a breast cancer survivor, mother, part-time web

designer, and illustrator. She loves to work with pen and ink, oil paints, and digital mediums. She

is mostly inspired by nature, her dreams, and the strong women she encounters. Her work is



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magical, feminine, and influenced by all things witchy. She likes to depicts the goddesses she sees

in her dreams, and has a special fascination with the moon.

       17.     Perez has a strong belief in the healing properties of rituals and mediation and hopes

that her art can transport some of that magical energy into your home.

       18.     Perez has expended substantial time, money, and other resources in developing,

advertising, and otherwise promoting the Katja Perez Works. As a result, products associated with

the Katja Perez Works are recognized and exclusively associated by consumers, the public, and

the trade as products authorized by Perez (the “Katja Perez Products”).




       https://katjaperez.com/collections/goddesses-witches?sort_by=manual



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       19.     Plaintiff is the owner of the United States Copyright Registrations that cover the Katja

Perez Works. The Registrations are valid, subsisting and in full force and effect. True and correct

copies of the registration certificates for the Katja Perez Works are attached hereto as Exhibit 1.

       20.     In an effort to illegally profit from the creative content of the Katja Perez Works,

Defendants have created numerous Defendant Internet Stores and have designed them to appear to

be selling authorized Katja Perez Products.

       21.     Perez has invested substantial time, money, and effort in building up and developing

consumer awareness, goodwill, and recognition in the Katja Perez Works.

       22.     The success of the Katja Perez Works is due in large part to Plaintiff’s marketing,

promotional, and distribution efforts.

       23.     As a result of Plaintiff’s efforts, the quality of the Katja Perez Products, the

promotional efforts for Plaintiff's products and designs, press and media coverage, and social media

coverage, members of the public have become familiar with the Katja Perez Works and associate

them exclusively with Plaintiff.

       24.     Perez has made efforts to protect Plaintiff's interests in and to the Katja Perez Works.

No one other than Perez and Plaintiff’s licensees are authorized to manufacture, import, export,

advertise, create derivative works, offer for sale, or sell any goods utilizing the Katja Perez Works

without the express written permission of Perez.

                                         THE DEFENDANTS

       25.     Defendants are individuals and business entities who, upon information and belief,

reside in the People’s Republic of China or other foreign jurisdictions. Defendants conduct business

throughout the United States, including within Illinois and in this judicial district, through the

operation of the fully interactive commercial websites and online marketplaces operating under the



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Defendant Internet Stores. Each Defendant targets the United States, including Illinois, and has

offered to sell and, on information and belief, has sold and continues to sell illegal Katja Perez

Products to consumers within the United States, including Illinois and in this judicial district.

                        THE DEFENDANTS’ UNLAWFUL CONDUCT

       26.     The success of the Katja Perez Works has resulted in significant copying of the

creative content protected by Plaintiff’s copyright registrations. Plaintiff has identified numerous

fully interactive websites and marketplace listings on various platforms. Each Defendant targets

consumers in the United States, including the State of Illinois, and has offered to sell and, on

information and belief, has sold and continues to sell infringing products that violate Plaintiff’s

intellectual property rights in the Katja Perez Works (“Infringing Products”) to consumers within

the United States, including the State of Illinois.

       27.      Upon information and belief, Defendants facilitate sales by designing the

Defendant Internet Stores so that they appear to unknowing consumers to be authorized online

retailers, outlet stores, or wholesalers selling genuine Katja Perez Products.

       28.     The Defendant Internet Stores intentionally conceal their identities and the full

scope of their piracy operations in an effort to deter Plaintiff from learning Defendants’ true

identities and the exact interworking of Defendants’ illegal operations. Through their operation of

the Defendant Internet Stores, Defendants are directly and personally contributing to, inducing,

and engaging in the sale of Infringing Products as alleged, often times as partners, co-conspirators

and/or suppliers. Upon information and belief, Defendants are an interrelated group of infringers

working in active concert to knowingly and willfully manufacture, import, distribute, offer for

sale, and sell Infringing Products.




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       29.     Upon information and belief, at all times relevant hereto, the Defendants in this

action have had full knowledge of Plaintiff’s ownership of the Katja Perez Works, including

Plaintiff's exclusive right to use and license such intellectual property and the goodwill associated

therewith.

       30.     Defendants often go to great lengths to conceal their identities by often using multiple

fictitious names and addresses to register and operate their massive network of Defendant Internet

Stores. Upon information and belief, Defendants regularly create new websites and online

marketplace accounts on various platforms using the identities listed in Schedule A to the Complaint,

as well as other unknown fictitious names and addresses. Such Defendant Internet Store registration

patterns are one of many common tactics used by the Defendants to conceal their identities, the full

scope and interworking of their massive pirating operation, and to avoid being shut down.

       31.     The Infringing Products for sale in the Defendant Internet Stores bear similarities and

indicia of being related to one another, suggesting that the Infringing Products were manufactured by

and come from a common source and that, upon information and belief, Defendants are interrelated.

The Defendant Internet Stores also include other notable common features, including the use of the

username registration patterns, unique shopping cart platforms, accepted payment methods, check-

out methods, meta data, illegitimate SEO tactics, HTML user-defined variables, lack of contact

information, identically or similarly priced items and volume sales discounts, similar hosting

services, similar name servers, and the use of the same text and images.

       32.     In addition to operating under multiple fictitious names, Defendants in this case and

defendants in other similar cases against online infringers use a variety of other common tactics to

evade enforcement efforts. For example, infringers like Defendants will often register new online

marketplace accounts under new aliases once they receive notice of a lawsuit. Infringers also often



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move website hosting to rogue servers located outside the United States once notice of a lawsuit is

received. Rogue servers are notorious for ignoring takedown demands sent by brand owners.

Infringers also typically ship products in small quantities via international mail to minimize detection

by U.S. Customs and Border Protection. A 2021 U.S. Customs and Border Protection report on

seizure statistics indicated that e-commerce sales accounted for 13.3% of total retail sales with second

quarter of 2021 retail e-commerce sales estimated at $222.5 billion. U.S. Customs and Border

Protection,      Intellectual     Property       Right       Seizure      Statistics,     FY      2021

(https://www.cbp.gov/sites/default/files/assets/documents/2022-Sep/202994%20-

%20FY%202021%20IPR%20Seizure%20Statistics%20BOOK.5%20-

%20FINAL%20%28508%29.pdf) at 23. A true and correct copy of CBP’s FY 2021 report is attached

hereto as Exhibit 4. In FY 2021, there were 213 million express mail shipments and 94 million

international mail shipments. Id. Nearly 90 percent of all intellectual property seizures occur in the

international mail and express environments. Id. at 27. The “overwhelming volume of small packages

also makes CBP’s ability to identify and interdict high risk packages difficult.” Id. at 23.

        33.     Further, infringers such as Defendants, typically operate multiple credit card merchant

accounts and third-party accounts, such as PayPal, Inc. (“PayPal”) accounts, behind layers of payment

gateways so that they can continue operations in spite of Plaintiff’s enforcement efforts. Upon

information and belief, Defendants maintain off-shore bank accounts and regularly move funds from

their PayPal accounts to off-shore bank accounts outside the jurisdiction of this Court. Indeed,

analysis of PayPal transaction logs from previous similar cases indicates that offshore infringers

regularly move funds from U.S.-based PayPal accounts to foreign-based bank accounts, such as

China-based bank accounts, outside the jurisdiction of this Court.




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        34.     Additionally, upon information and belief, Defendants use other unauthorized search

engine optimization (SEO) tactics and social media spamming so that the Defendant Internet Stores

listings show up at or near the top of relevant search results and misdirect consumers searching for

genuine Katja Perez Products. Further, Defendants utilize similar illegitimate SEO tactics to propel

new Defendant Internet Stores to the top of search results after others are shut down.

        35.     Defendants, without any authorization or license, have knowingly and willfully

pirated Plaintiff’s Katja Perez Works in connection with the advertisement, distribution, offering

for sale, and sale of illegal products into the United States and Illinois over the internet. Each

Defendant Internet Store offers shipping to the United States, including Illinois, and, on

information and belief, each Defendant has offered to sell Infringing Products into the United

States, including Illinois.

                                       COUNT I
                                COPYRIGHT INFRINGEMENT
        36.     Plaintiff repeats and incorporates by reference herein the allegations contained in

the above paragraphs of this Complaint.

        37.     The Katja Perez Works have significant value and have been produced and created

at considerable expense.

        38.     At all relevant times, Plaintiff has been the holder of the pertinent exclusive rights

infringed by Defendants, as alleged hereunder, including but not limited to the Katja Perez Works,

including derivative works. The Katja Perez Works are the subject of valid Copyright Registration

Certificates issued by the Register of Copyrights. (Exhibit 1).

        39.     Each Defendant, without the permission or consent of Plaintiff, has, and continues

to sell online pirated derivative works of the copyrighted Katja Perez Works. Each Defendant has

violated Plaintiff’s exclusive rights of reproduction and distribution. Each Defendant’s actions


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constitute an infringement of Plaintiff’s exclusive rights protected under the Copyright Act (17

U.S.C. §101 et seq.).

        40.      The foregoing acts of infringement constitute a collective enterprise of shared,

overlapping facts and have been willful, intentional, and in disregard of and with indifference to

the rights of the Plaintiff.

        41.      As a result of each Defendant’s infringement of Plaintiff’s exclusive rights under

copyright, Plaintiff is entitled to relief pursuant to 17 U.S.C. §504 and to Plaintiff’s attorneys’ fees

and costs pursuant to 17 U.S.C. §505.

        42.      The conduct of each Defendant is causing and, unless enjoined and restrained by

this Court, will continue to cause Plaintiff great and irreparable injury that cannot fully be

compensated or measured in money. Plaintiff has no adequate remedy at law. Pursuant to 17 U.S.C.

§§502 and 503, Plaintiff is entitled to injunctive relief prohibiting each Defendant from further

infringing Plaintiff’s copyrights and ordering that each Defendant destroy all unauthorized copies.

                                       PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

        2) That Defendants, their affiliates, officers, agents, employees, attorneys, and all persons

              acting for, with, by, through, under, or in active concert with them be temporarily,

              preliminarily, and permanently enjoined and restrained from:

        a. using the Katja Perez Works or any reproductions, copies, or colorable imitations

              thereof in any manner in connection with the distribution, marketing, advertising,

              offering for sale, or sale of any product that is not an authorized Katja Perez Product or

              is not authorized by Plaintiff to be sold in connection with the Katja Perez Works;




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       b. passing off, inducing, or enabling others to sell or pass off any product or not produced

           under the authorization, control, or supervision of Plaintiff and approved by Plaintiff

           for sale under the Katja Perez Works;

       c. further infringing the Katja Perez Works and damaging Plaintiff’s goodwill;

       d. shipping, delivering, holding for sale, transferring or otherwise moving, storing,

           distributing, returning, or otherwise disposing of, in any manner, products or inventory

           not authorized by Plaintiff to be sold or offered for sale, and which directly use the Katja

           Perez Works, and which are derived from Plaintiff’s copyrights in the Katja Perez

           Works; and

       e. using, linking to, transferring, selling, exercising control over, or otherwise owning the

           Defendant Internet Stores, or any other online marketplace account that is being used to

           sell products or inventory not authorized by Plaintiff which are derived from Plaintiff’s

           copyrights in the Katja Perez Works;

       2) Entry of an Order that, upon Plaintiff’s request, those in privity with Defendants and

those with notice of the injunction, including any online marketplaces, social media platforms,

Facebook, YouTube, LinkedIn, Twitter, internet search engines such as Google, Bing, and Yahoo,

web hosts for the Defendant Internet Stores, shall:

       a. disable and cease providing services for any accounts through which Defendants

           engage in the sale of products not authorized by Plaintiff which reproduce the Katja

           Perez Works or are derived from the Katja Perez Works, including any accounts

           associated with the Defendants listed on Schedule A;




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         b. disable and cease displaying any advertisements used by or associated with Defendants

            in connection with the sale of products not authorized by Plaintiff which are derived

            from the Katja Perez Works; and

         c. take all steps necessary to prevent links to the Defendant accounts identified on

            Schedule A from displaying in search results, including, but not limited to, removing

            links to the Defendant accounts from any search index;

         3) For Judgment in favor of Plaintiff against Defendants that they have: a) willfully

infringed Plaintiff’s rights in Plaintiff’s federally registered copyrights pursuant to 17 U.S.C. §501;

and b) otherwise injured the business reputation and business of Plaintiff by Defendants’ acts and

conduct set forth in this Complaint;

         4) For Judgment in favor of Plaintiff against Defendants for actual damages or statutory

damages pursuant to 17 U.S.C. §504, at the election of Plaintiff, in an amount to be determined at

trial;

         5) That Plaintiff be awarded Plaintiff’s reasonable attorneys’ fees and costs; and

         6) Award any and all other relief that this Court deems just and proper.



DATED: January 2, 2024                                 Respectfully submitted,

                                                       /s/ Keith A. Vogt
                                                       Keith A. Vogt (Bar No. 6207971)
                                                       Keith Vogt, Ltd.
                                                       33 West Jackson Boulevard, #2W
                                                       Chicago, Illinois 60604
                                                       Telephone: 312-971-6752
                                                       E-mail: keith@vogtip.com

                                                       ATTORNEY FOR PLAINTIFF




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